                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,                     )
                                               )
                       Plaintiff,              )
                                               )   GOVERNMENT’S BRIEF IN
               v.                              )   RESPONSE TO DEFENDANT
                                               )   LANE’S GARRITY OBJECTION
                                               )
    4. THOMAS KIERNAN LANE,                    )
                                               )
                       Defendant.              )



        The United States of America, by and through its undersigned attorneys, responds

to defendant Lane’s objection to the United States eliciting testimony from an MPD

homicide investigator about an on-scene statement by defendant Lane.

   I.      Background

        A video recording of defendant Lane’s statement is already in evidence. See Gov.

Ex. 5 (beginning at timestamp 21:57:10). In addition, defendant Lane has had this

statement in his possession since the United States provided it in its first round of discovery

on July 20, 2021. Today, defendant Lane raises for the first time via email—the day before

the United States intends to call the homicide investigator as a trial witness—the

unsupported objection that Lane’s statement was compelled in violation of Garrity v. New

Jersey, 385 U.S. 493 (1967). Defendant Lane’s objection should be overruled (1) because

his on-scene statement was not Garrity-compelled—in other words, he was not forced

when making the statement to decide between speaking to an investigator or losing his job;
(2) because he has failed to meet his burden of establishing that his on-scene statement was

Garrity-compelled; and (3) because he has waived argument that his on-scene statement

was Garrity-compelled.

         Defendant Lane made the statement in question to Lt. Richard Zimmerman on May

25, 2020, at 9:57 p.m., when Lt. Zimmerman arrived at the intersection of 38th Street and

Chicago Avenue and asked defendant Lane, “what’s going on?”              Defendant Lane’s

statement is captured on his body-worn camera, which has already been admitted into

evidence as Government Exhibit 5 without objection and pursuant to the parties’

stipulation. Defendant Lane never moved to suppress the statement prior to trial or prior

to its admission into evidence.

   II.      Legal Analysis

         In Garrity, the Supreme Court held that statements made by public employees

compelled by threat of termination are not voluntary waivers of the Fifth Amendment

privilege against self-incrimination. Id. at 497. As such, statements compelled from public

employees cannot be used against the speaker in criminal proceedings. Id.

         First, Garrity protections do not apply to defendant Lane’s on-scene statement to

Lt. Zimmerman because it was a routine statement to a supervisor, not a compelled

statement to an internal investigator. “Garrity immunity” applies only to compelled

statements. Courts have routinely held that the compulsion must be explicit, and courts

have strictly defined compulsion as a stark choice between making a statement or being

terminated—a stark choice “between the rock and the whirlpool.” Id. at 498. The Eighth

Circuit has made clear that Garrity is inapplicable where “there is no showing that [the

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public employee] must either answer questions which might incriminate him in future

criminal proceedings or forfeit his job.” Diebold v. Civil Serv. Comm’n, 611 F.2d 697,

701 (8th Cir. 1979). In Diebold, a public employee sought to have his employer enjoined

from holding a dismissal appeal hearing until after a parallel criminal case against the

employee concluded. 611 F.2d at 698. The Eighth Circuit held that the employee’s

dilemma—either to participate in the administrative dismissal hearing “as the sole means

of contesting the loss of his job,” or to “remain silent while the administrative commission

hears evidence of his criminal conduct, and virtually guarantee the loss of his job”—was

constitutionally permissible and did not run afoul of Garrity. Id. at 698, 701. In particular,

the Eighth Circuit emphasized that the situation in which Garrity protections apply is “an

entirely different factual situation,” because “[t]here exists here no requirement that [the

employee] waive his immunity under the fifth amendment. Nor is there a threat that he

will be fired simply for invoking that privilege.” Id. at 701. See also United States v.

Bartlett, No. 06-cr-273, 2007 WL 1830726, at *1-2 (E.D. Wisc. June 22, 2007)

(determining that Garrity did not apply where the public employee failed to show that a

threat “was communicated to him that if he exercised his right against self-incrimination

he would be disciplined”).

       Routine statements to supervisors are not Garrity-compelled statements absent

specific statements that actually threaten the employee with the loss of their job. Responses

to general questions from supervisory officers who arrive on the scene are not compelled

by virtue of the supervisory officers’ rank or position. See, e.g., United States v. Indorato,

628 F.2d 711, 715 (1st Cir. 1980) (holding that “there was no overt threat that defendant

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would be dismissed if he refused to answer the questions asked,” rejecting defendant’s

argument that a threat was “implied,” and holding in particular that the fact that police

department’s policies required an officer to obey commands of a superior officer did not

render defendant-officer’s statements to a lieutenant and captain Garrity-compelled).

       Second, defendant Lane has failed to establish that Garrity protections apply to his

on-scene statement. It is the defendant’s burden to establish that his statement was

compelled under the meaning of Garrity. See McKinley v. City of Mansfield, 404 F.3d 418,

431 (6th Cir. 2005) (party alleging Fifth Amendment violation has burden to “show that

the statements are legally entitled to Fifth Amendment protection in the first place”); see

also Pillsbury Co. v. Conboy, 459 U.S. 248, 255 (1983) (holding that burden shifts to

prosecutors once defendant has established he has testified under grant of immunity). For

the defendant to meet his burden, he has to demonstrate both (1) that he subjectively

believed that he was compelled to give a statement upon threat of job loss, and (2) that his

belief was objectively reasonable at the time. See United States v. Vangates, 287 F.3d

1315, 1322 (11th Cir. 2002) (holding that for a statement to be Garrity-protected: “First,

the defendant must have subjectively believed that he was compelled to give a statement

upon threat of loss of job. Second, this belief must have been objectively reasonable at the

time the statement was made.”) (internal quotation marks omitted).

       Defendant Lane cannot meet his burden. When MPD conducts administrative

investigations and compels statements from employees, it requires them to sign explicit

Garrity waivers. Two months before the May 25, 2020 incident, Defendant Lane had

signed such a waiver when he provided a witness statement in an unrelated administrative

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matter. See Ex. 1 (attached). He therefore could not have had an objectively reasonable,

subjective belief that his statement to Lt. Zimmerman—in response to the question, “what’s

going on?”—was compelled at the time that he made it. Compare Gov. Ex. 5 at 21:57:10

(Q: “Hey guys, what’s goin’ on?) with Def. Lane Previous IA Statement at Ex. 1 (attached)

at 1-2 (“Q: You are being ordered to give a complete and truthful statement pertaining to

the scope of your employment or fitness for duty. It is compelled . . . it is a compelled

statement pursuant to MPD Policy and Procedure. Under the Garrity Decision, any

statement provided in this investigation cannot be used in a criminal proceeding against

you, except in the case of alleged perjury. However, these statements may be used against

you in relation to employment allegations. Do you understand this warning? A: Yes, sir.”).

      Finally, defendant Lane has waived any argument that his statement to Lt.

Zimmerman was compelled both by failing to raise it earlier and by stipulating that the

statement could be admitted into evidence. That statement is now in evidence, and Lt.

Zimmerman should be permitted to testify about it.




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   III.   Conclusion

      Accordingly, the United States requests that this Court permit Lt. Zimmerman to

testify about defendant Lane’s on-scene statement and overrule any Garrity-related

objections raised by defendant Lane as to that statement.


Dated: January 30, 2022                         Respectfully submitted,

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